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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

LINDA SUE SEXTON, et al.,

               Plaintiffs,                                  Case No. 19-12574

vs.                                                         HON. MARK A. GOLDSMITH

THOMAS CERNUTO, et al.,

            Defendants.
__________________________________/

                             ORDER REGARDING REMOVAL

       This matter has been removed to this Court. See Notice of Removal (Dkt. 1). Within

five (5) days of today’s date, the removing party shall file with this Court — as separate docket

entries — all answers, amended pleadings, responsive pleadings, pending motions, and

responses/replies to those motions that were originally filed in state court. The Court generally

will not consider any unresolved motions pending in state court at the time of removal, unless

they have been re-filed on this Court's docket. The same is true for any responses or replies that

had been filed in state court in connection with motions not yet resolved at the time of removal.

       To the extent briefing has not been completed on a pending motion at the time of

removal, the briefing schedule set forth in Local Rule 7.1(e) applies upon docketing with this

Court, unless the Court orders otherwise.

       SO ORDERED.

Dated: September 13, 2019                    s/Mark A. Goldsmith
       Detroit, Michigan                     MARK A. GOLDSMITH
                                             United States District Judge
